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                             UNITED STATES DISTRICT COURT
   7
              CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
   8
   9    LAUREN BYRNE et al., on behalf of                   Case No. EDCV 17-527 JGB (KKx)
  10    themselves and all others similarly situated,
  11                                          Plaintiffs,            JUDGMENT
  12                 v.
  13
        CITY OF INDUSTRY HOSPITALITY
  14    VENTURE, INC., et al.,
  15                                       Defendants.
  16
  17
       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  18
  19         This matter comes before the Court on Plaintiffs’ Unopposed Motion For
  20   Final Approval Of Collective and Class Action Settlement and Unopposed Motion
  21   for Attorneys’ Fees, Costs and Expenses, by and through their counsel (“Class
  22   Counsel”) for an order and judgment finally approving the Parties’ Stipulation and
  23   Settlement Agreement, submitted to the Court on October 4, 2017 at ECF Dkt. No.
  24   64-1 and 64-2 (“Settlement Agreement”) and dismissing with prejudice all claims
  25   asserted in this action:
  26         WHEREAS, Plaintiffs Lauren Byrne (“Byrne”), Jenetta L. Bracy (“Bracy”),
  27   Jennifer Perez (“Perez”), and Jennifer Disla (“Disla,” collectively “Plaintiffs”), on
  28   behalf of themselves and all others similarly situated (the “Class Members”), and
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   1   Defendants City of Industry Hospitality Venture, Inc., City of Industry Hospitality
   2   Venture, LLC, DG Hospitality Van Nuys, LLC, Farmdale Hospitality Services,
   3   Inc., Farmdale Hospitality Services, LLC, High Expectations Hospitality, LLC,
   4   High Expectations Hospitality Dallas, LLC, Inland Restaurant Venture I, Inc.,
   5   Inland Restaurant Venture I, LLC, Kentucky Hospitality Venture, LLC, Kentucky
   6   Hospitality Venture Lexington, LLC, L.C.M., LLC, LCM1, LLC, Midnight Sun
   7   Enterprises, Inc., Midnight Sun Enterprises, LLC, Nitelife, Inc., Nitelife
   8   Minneapolis, LLC, Olympic Avenue Venture, Inc., Olympic Avenue Ventures,
   9   LLC, Rialto Pockets, Incorporated, Rialto Pockets, LLC, Rouge Gentlemen’s Club,
  10   Inc., Santa Barbara Hospitality Services, Inc., Santa Barbara Hospitality Services,
  11   LLC, Santa Maria Restaurant Enterprises, Inc., Santa Maria Restaurant
  12   Enterprises, LLC, Sarie’s Lounge, LLC, The Oxnard Hospitality Services, Inc.,
  13   The Oxnard Hospitality Services, LLC, Washington Management, LLC,
  14   Washington Management Los Angeles, LLC, Wild Orchid, Inc., Wild Orchid
  15   Portland, LLC, World Class Venues, LLC, World Class Venues Iowa, LLC, W. P.
  16   B. Hospitality, LLC, WPB Hospitality West Palm Beach, LLC, The Spearmint
  17   Rhino Companies Worldwide, Inc., Spearmint Rhino Consulting Worldwide, Inc.
  18   (“Defendants”) have entered into the Settlement Agreement, intending to resolve
  19   claims alleged by Plaintiffs that they were not properly paid wages in violation of
  20   the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”) and state law
  21   counterparts, including a representative PAGA action. (See ECF Dkt. No. 75,
  22   Second Amended Complaint in the above-captioned lawsuit);
  23         WHEREAS, the Settlement Agreement, together with its exhibits, set forth
  24   the terms and conditions for a proposed settlement and dismissal with prejudice of
  25   this action against Defendants;
  26         WHEREAS, for purposes of settlement only, Plaintiffs seek the final
  27   certification of the following opt-out settlement classes pursuant to Fed. R. Civ. P.
  28   23:
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   1         a. All current and former exotic dancers who worked at any Spearmint
   2   Rhino, Dames N Games and/or Blue Zebra location in the State of California from
   3   any time starting four years prior to February 3, 2017 until the date the case
   4   resolves.
   5         b. All current and former exotic dancers who worked at any Spearmint Rhino
   6   location in the State of Florida from any time starting five years prior to February 3,
   7   2017 until the date the case resolves.
   8         c. All current and former exotic dancers who worked at any Spearmint Rhino
   9   location in the State of Idaho from any time starting three years prior to February 3,
  10   2017 until the date the case resolves.
  11         d. All current and former exotic dancers who worked at any Spearmint Rhino
  12   location in the State of Iowa from any time starting three years prior to February 3,
  13   2017 until the date the case resolves.
  14         e. All current and former exotic dancers who worked at any Spearmint Rhino
  15   location in the State of Kentucky from any time starting three years prior to
  16   February 3, 2017 until the date the case resolves.
  17         f. All current and former exotic dancers who worked at any Spearmint Rhino
  18   location in the State of Minnesota from any time starting three years prior to
  19   February 3, 2017 until the date the case resolves.
  20         g. All current and former exotic dancers who worked at any Spearmint Rhino
  21   location in the State of Oregon from any time starting three years prior to February
  22   3, 2017 until the date the case resolves.
  23         h. All current and former exotic dancers who worked at any Spearmint Rhino
  24   location in the State of Texas from any time starting three years prior to February
  25   3, 2017 until the date the case resolves.
  26         WHEREAS, for purposes of settlement only, the Plaintiffs also seek final
  27   certification of the following opt-in settlement class pursuant to Section 216(b) of
  28   the FLSA:
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   1         a. All current and former exotic dancers who worked at any Spearmint
   2   Rhino, Dames N Games and/or Blue Zebra location in the United States from any
   3   time starting three years before February 3, 2017 to the present.
   4         WHEREAS, on October 30, 2017 and on November 7, 2017, this Court
   5   entered Orders granting Preliminary Approval of the Settlement (ECF Dkt. No. 74
   6   & 80): (1) asserting jurisdiction over the claims alleged, the Parties in the
   7   Litigation, and the implementation and administration of this Settlement
   8   Agreement; (2) adjudging the terms of this Settlement Agreement to be fair,
   9   reasonable and adequate, and in the best interests of the Plaintiffs, Opt-in Plaintiffs,
  10   and members of the Settlement Classes, and directing consummation of its terms
  11   and provisions; (3) conditionally certifying the Settlement Classes for settlement
  12   purposes only; (4) appointing the Plaintiffs as class representatives who, together
  13   with Class Counsel, shall be authorized to act on behalf of all members of the
  14   Settlement Classes with respect to the claims asserted in the Litigation and this
  15   Settlement Agreement; (5) approving as to form and content the Settlement Notice
  16   and Claim Forms and authorizing the first-class mailing of the Settlement Notice
  17   and Claim Forms to all members of the Settlement Classes; (6) appointing the law
  18   firms of Shellist Lazarz Slobin, LLP; Baron & Budd, P.C.; and Napoli Shkolnik
  19   PLLC as Class Counsel for the Settlement Classes pursuant to Section 216(b) of
  20   the FLSA and Federal Rule of Civil Procedure 23; (7) appointing Kurtzman
  21   Carson Carlson, LLC, & Co (“KCC”) as the Claims Administrator; and (8) setting
  22   a sixty (60) calendar day deadline for the execution and return of fully completed
  23   Claim Forms, requests for exclusion, or objections; and (9) setting the final
  24   approval hearing date for March 5, 2018;
  25         WHEREAS, the Court has before it Plaintiffs’ Unopposed Motion For Final
  26   Approval Of Collective and Class Action Settlement and Motion for Attorneys’
  27   Fees, Costs and Expenses (“Plaintiffs’ Motion”) and papers in support thereof,
  28   together with the Settlement Agreement and its Exhibits;
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   1         WHEREAS, the Court is satisfied that the terms and conditions set forth in
   2   the Settlement Agreement were the result of good faith, arms’ length settlement
   3   negotiations between competent and experienced counsel for both Plaintiffs and
   4   Defendants;
   5         WHEREAS, having reviewed and considered the Settlement Agreement and
   6   accompanying Exhibits, Plaintiffs’ Motion, and the exhibits thereto, and other
   7   materials filed in support of Plaintiffs’ Motion, and otherwise having heard and
   8   considered the argument of counsel, the Court makes the findings and grants the
   9   relief set forth below, giving final approval to the Settlement Agreement upon the
  10   terms and conditions set forth in this and entering final judgment;
  11         WHEREAS, the Court has before it three Objections to the Settlement filed
  12   by Shala Nelson, Ashley Ingraham, and Adriana Ortega (ECF Dkt. No. 83, 89, &
  13   90;
  14         WHEREAS, on February 28, 2018, Responses were filed to the Objections;
  15   and
  16         WHEREAS, for the reasons cited in this Order after consideration of all
  17   pleadings filed, and arguments of Counsel and Objectors at the Final Approval
  18   Hearing, Objections ECF Dkt. No. 83, 89, & 90 lack merit and are therefore
  19   OVERRULED.
  20   IT IS HEREBY ORDERED AS FOLLOWS:
  21         1. Terms used in this Order have the meanings assigned to them in the
  22   Settlement Agreement and this Order.
  23         2. The Court has jurisdiction over the subject matter of this action, including
  24   the claims asserted, the Plaintiffs, the members of the FLSA Settlement Class, the
  25   members of the State Law Settlement Classes, Defendants, and the
  26   implementation and administration of the Settlement Agreement pursuant to 28
  27   U.S.C. § 1331, 29 U.S.C. § 216(b) and 28 U.S.C. § 1367(a), including the following
  28   opt-in collective action settlement class pursuant to Section 216(b) of the FLSA
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   1   also preliminarily certified by the Court’s October 30, 2017 and November 7, 2017
   2   Preliminary Approval Orders:
   3         a. All current and former exotic dancers who worked at any Spearmint
   4   Rhino, Dames N Games and/or Blue Zebra location in the United States from any
   5   time starting three years before February 3, 2017 to the present;
   6         And the following opt-out settlement classes pursuant to Fed. R. Civ. P. 23
   7   that were preliminarily certified by virtue of the Court’s October 30, 2017 and
   8   November 7, 2017 Preliminary Approval Orders
   9         a. All current and former exotic dancers who worked at any Spearmint
  10   Rhino, Dames N Games and/or Blue Zebra location in the State of California from
  11   any time starting four years prior to February 3, 2017 until the date the case
  12   resolves.
  13         b. All current and former exotic dancers who worked at any Spearmint Rhino
  14   location in the State of Florida from any time starting five years prior to February 3,
  15   2017 until the date the case resolves.
  16         c. All current and former exotic dancers who worked at any Spearmint Rhino
  17   location in the State of Idaho from any time starting three years prior to February 3,
  18   2017 until the date the case resolves.
  19         d. All current and former exotic dancers who worked at any Spearmint Rhino
  20   location in the State of Iowa from any time starting three years prior to February 3,
  21   2017 until the date the case resolves.
  22         e. All current and former exotic dancers who worked at any Spearmint Rhino
  23   location in the State of Kentucky from any time starting three years prior to
  24   February 3, 2017 until the date the case resolves.
  25         f. All current and former exotic dancers who worked at any Spearmint Rhino
  26   location in the State of Minnesota from any time starting three years prior to
  27   February 3, 2017 until the date the case resolves.
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   1         g. All current and former exotic dancers who worked at any Spearmint Rhino
   2   location in the State of Oregon from any time starting three years prior to February
   3   3, 2017 until the date the case resolves.
   4         h. All current and former exotic dancers who worked at any Spearmint Rhino
   5   location in the State of Texas from any time starting three years prior to February
   6   3, 2017 until the date the case resolves.
   7         3. The Court finds, for purposes of settlement only, that the FLSA
   8   Settlement Class, as defined above, satisfies the requirements to be maintainable as
   9   a settlement collective action under 29 U.S.C. § 216(b), and that those members of
  10   the FLSA Settlement Class who opted into the settlement class as defined in the
  11   Settlement Agreement constitute the Final FLSA Settlement Class, as defined in
  12   the Settlement Agreement.
  13         4. The Court finds, for purposes of settlement only, that the State Law
  14   Settlement Classes, as listed and defined above, satisfy the requirements of Fed. R.
  15   Civ. P. 23(a) and are maintainable under Rule 23(b)(3), and that those members of
  16   the State Law Settlement Classes who did not timely and validly exclude
  17   themselves from the class in compliance with the opt-out and exclusion procedures
  18   set forth in the Settlement Agreement constitute the Final State Law Settlement
  19   Classes, as that term is used in the Settlement Agreement.
  20         5. Together, the FLSA Settlement Class and the State Law Settlement
  21   Classes shall be referred to herein as the Final Settlement Classes and are finally
  22   certified, for final settlement purposes only, to effectuate the terms of the
  23   Settlement Agreement.
  24         6. The Settlement Notice, as authorized by the Preliminary Approval Order,
  25   and as disseminated by the Claims Administrator, adequately informed members of
  26   the Settlement Classes of, among other things, the terms of the Settlement
  27   Agreement, the process available to them to obtain monetary relief, and informed
  28   members of the State Law Settlement Classes of their right to exclude themselves
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   1   from the Settlement Agreement and to pursue their own remedies, as well as their
   2   opportunity to file written objections and to appear and be heard at the Final
   3   Approval Hearing. The Settlement Notice also adequately informed members of
   4   the Settlement Classes of a toll-free number for the Claims Administrator and a
   5   website at which they could access additional information regarding the case and
   6   the proposed Settlement Agreement. The Court hereby finds that the Settlement
   7   Notice provided satisfied the requirements of Fed. R. Civ. P. 23(e)(1)(B).
   8         7. The Court hereby approves the proposed Settlement Agreement and finds
   9   that the settlement is fair, reasonable and adequate with respect to the Defendants,
  10   Plaintiffs and all members of the Settlement Classes. The Court finds that
  11   sufficient investigation, research and litigation have been conducted such that
  12   counsel for the parties are able to evaluate their respective risks of further litigation,
  13   including the additional costs and delay associated with the further prosecution of
  14   this action. The Court further finds that the Settlement Agreement has been
  15   reached as the result of intensive, arms’-length negotiations, including mediation
  16   with an experienced third-party neutral.
  17         8. In accordance with the Settlement Agreement, Defendants shall provide
  18   to the Claims Administrator funds equal to the Net Settlement Amount, as defined
  19   in the Settlement Agreement, within five (5) days of the “Effective Date” as
  20   defined in the Settlement Agreement. Also in accordance with the Settlement
  21   Agreement, the Claims Administrator shall mail Settlement Payments to
  22   Claimants, and Service Payments (if applicable), along with a copy of the Final
  23   Approval Order thirty days following the “Effective Date” as defined in the
  24   Settlement Agreement.
  25         9. Class Counsel shall be awarded 20% plus costs and expenses ($1,700,000
  26   plus costs and expenses of $19,646.86 for a total of $1,719,646.86) from the total
  27   Settlement Amount ($8,500,000.00) for fair and reasonable attorneys’ fees, costs
  28   and expenses incurred in the prosecution of this litigation. Attorneys’ fees and
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   1   costs awarded by the Court shall be paid by Existing Clubs to Class Counsel, with
   2   the first payment being made within thirty (30) days of the Effective Date and shall
   3   be paid in not less than six equal monthly installments. Interest shall not accrue on
   4   any amount awarded by the Court if payment is timely made under this Section. At
   5   least twenty days prior to the Effective Date, Class Counsel shall unanimously send
   6   Defendants’ Counsel instructions (signed by one representative from each of the
   7   Class Counsel law firms) as to how the attorneys’ fees and costs awarded by the
   8   Court shall be disbursed. If no such letter (and a corresponding W-9) is received by
   9   5 p.m. on the twentieth day before the Effective Date, the amount of attorney fees
  10   and costs awarded by the Court will be deposited as set forth in this Paragraph into
  11   the trust account of Lead Class Counsel and the funds will only be disbursed to
  12   Class Counsel based on joint instructions by all Class Counsel to Lead Class
  13   Counsel instructing on the manner, amount and timing of payments and identity of
  14   payee(s) of the funds. The Claims Administrator shall also be paid its Settlement
  15   Expenses from the Gross Settlement up to $85,000.00 (less any pre-payment
  16   provided).
  17         10. Service Payments, as set forth in the Settlement Agreement, are
  18   approved for Plaintiffs Byrne, Bracy, and Disla, in the amount of $2,500.00 each,
  19   due to their performance of substantial services for the benefit of the Settlement
  20   Classes. Such Service Payments are to be paid from the Gross Settlement Amount,
  21   as specified in the Settlement Agreement.
  22         11. The Court finds and determines that the payments to be made to the
  23   Plaintiffs and Claimants, as provided in the Settlement Agreement are fair,
  24   reasonable and adequate, and gives final approval to and orders that those
  25   payments be made to Claimants and Plaintiffs.
  26         12. The Court finds that the releases as provided in the Settlement
  27   Agreement are fair and reasonable and gives its final approval to such releases.
  28   Effective as of the “Effective Date,” as that term is defined in the Settlement
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    1   Agreement, Plaintiffs and all Releasing Persons hereby forever completely settle,
    2   compromise, release, and discharge the Released Persons from any of the Released
    3   Claims as defined in Section 9 of the Settlement Agreement. See ECF Dkt. No. 64-
    4   1.
    5         13. All members of the Settlement Classes who submitted a claim form or did
    6   not opt out of the Settlement Agreement shall release all Released Claims,
    7   including all claims under PAGA, pursuant to the Settlement Agreement.
    8         14. The Court finds that, pursuant to the requirements of the Class Action
    9   Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715(b), Defendants properly paid
   10   for and sent the CAFA Notice to the appropriate federal and state officials.
   11         15. This Court enters final judgment on and hereby dismisses the Litigation
   12   on the merits and with prejudice, and without costs to any of the parties as against
   13   any other settling party, except as provided in the Settlement Agreement.
   14         16. The Court retains jurisdiction over this Litigation and the Parties to
   15   administer, supervise, interpret and enforce the Settlement Agreement and this
   16   Order.
   17
   18    Dated: December 13, 2018
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   21                                            THE HONORABLE JESUS G. BERNAL
   22                                            United States District Judge
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